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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                    NORTHERN DIVISION

UNITED STATES OF AMERICA                            *

               v.                                   *        Criminal No.: JKB-23-0278

CHRISTOPHER BENDANN                                 *

                                           *    *   *    *   *

                                  ENTRY OF APPEARANCE


       The undersigned attorney, having been appointed as CJA Panel counsel for the

Defendant, Christopher Bendann, and being duly certified to practice before the Court,

respectfully requests that his appearance as the attorney of record in the present matter be

entered.



                                               _______/s/__________
                                               Christopher C. Nieto, Esq, #30031
                                               Law Office of Christopher Nieto, LLC.
                                               1 North Charles Street, Suite 1301
                                               Baltimore, MD 21201
                                               Office: 443-863-8189
                                               Attorney for Defendant
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                                     CERTIFICATE OF SERVICE

              I hereby certify that on this 20th of September, 2023, a copy of the foregoing Entry

of Appearance was electronically filed with the Clerk of the United States District Court using

CM/ECF, and a notice of said filing to Colleen McGuinn, Anatoly Smolkin and Kim Hagen,

Assistant United States Attorneys.



                                                           ________/s/______________
                                                           Christopher C. Nieto, Esq.
                                                           Attorney for Mr. Bendann
